               Case: 3:24-cr-00050-jdp              Document #: 52-1       Filed: 11/08/24       ANDEREGG-BATES-000127
                                                                                                  Page 1 of 36
AO 93 (Rev. 11/13) Search and Seizure Warrant



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District of Wisconsin
                   In the Matter of the Search of        )
                                                         )
                                                                            Case No. 24-mj-5
  Information associated with Facebook user ID Instagram )
accounts dhyanax4dxm (Instagram UID: 60857847038) and )
                                                                                              SEALED
 _dhyana_gg (Instagram UID: 55017690550) that is stored )
       at premises controlled by Meta Platforms, Inc.    )

                                                SEARCH AND SEIZURE WARRANT

To:       Any authorized law enforcement officer

        An application by a federal law enforcement officer or an attorney for the government requests the search of the
following premises located in the Northern District of California in Menlo Park, California.

See the affidavit in suppmt of this warrant and Attachment A.

          The person or property to be searched, described above, is believed to conceal:

See the affidavit in suppmt of this warrant and Attachment B.

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the information
described in Attachment B.

        YOU ARE COMMANDED to execute this warrant on or before 2. ·I z_. 2 '1 (not to exceed 14 days)
D in the daytime 6:00 a.m. to 10 p.m. ~ at any time in the day or night as I find reasonable cause has been established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the prope1ty was taken.

        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge Stephen L.
Crocker or United States Magistrate Judge Andrew R. Wiseman.

        lg) Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in
18 U.S.C. § 2705, and order Meta Platforms, Inc. not to reveal to the subscriber either the existence of this warrant or of any
disclosures made pursuant to the warrant before )· 2. 9- Z..'1 (one year or less).


Date and time issued:
    1-2.<)·2.'-f   ~r   l(:coo(I.I]
                                                                                            Judge's signature

                                                                              Magistrate Judge Stephen L. Crocker
                           Madison, Wisconsin
                                                                              Magistrate Judge Andrew R. Wiseman
               Case: 3:24-cr-00050-jdp                    Document #: 52-1      Filed: 11/08/24         ANDEREGG-BATES-000128
                                                                                                         Page 2 of 36
AO 93 (Rev. JIll 3) Search and Seizure Warrant (Page 2)

                                                                  Return
Case No.:                               Date and time warrant executed:         Copy of warrant and inventory left with:
24-mj-5
Inventory made in the presence of

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


       I declare under penalty ofpe1jwy that this inventory is correct and was returned along with the original
warrant to the designated judge.


Date:
                                                                                       Executing officer's signature



                                                                                          Printed name and title
    Case: 3:24-cr-00050-jdp    Document #: 52-1     Filed: 11/08/24   ANDEREGG-BATES-000129
                                                                       Page 3 of 36



                                 ATTACHMENT A

                               Property to Be Searched

      This warrant applies to information associated with Instagram accounts

dhyanax4dxm (Instagram UID: 60857847038) and _dhyana_gg (Instagram UID:

55017690550) that is stored at premises owned, maintained, controlled, or operated by

Meta Platforms, Inc., a company headquartered in Menlo Park, California.
    Case: 3:24-cr-00050-jdp           Document #: 52-1          Filed: 11/08/24      ANDEREGG-BATES-000130
                                                                                      Page 4 of 36



                                        ATTACHMENT B!

                           Information to be disclosed by Instagram

       To the extent that the information described in Attachment A is within the

possession, custody, or control of Instagram, including any messages, records, files,

logs, or information that have been deleted but are still available to Instagram, or have

been preserved pursuant to a request made under 18 U.S.C. § 2703(£), Instagram is

required to disclose the following information to the government for each user ID listed

in Attachment A:

       1.       All contact and personal identifying information, including full name,

user identification number, birth date, gender, contact e-mail addresses, Instagram

passwords, Instagram security questions and answers, physical address (including city,

state, and zip code), telephone numbers, screen names, websites, and other personal

identifiers.

        2.      All past and current usernames associated with the account;

       3.       All activity logs for the account and all other documents showing the

user's posts and other Instagram activities;




1The United States, and its forensic and law enforcement partners (the government), will seize the
information described herein only for investigative purposes and for probable discovery pursuant to
Brady v, Man;land, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and Federal Rules of
Criminal Procedure 16(a)(1)(E) and 26.2. The government will examine the seized information to identify
information that is relevant to the matter under investigation and will thereby exercise respect for the
information owner's personal and Constitutional privacy interests. Litigants are invited to contact the
assigned AUSA to address privacy or other concerns.
    Case: 3:24-cr-00050-jdp      Document #: 52-1      Filed: 11/08/24   ANDEREGG-BATES-000131
                                                                          Page 5 of 36



       4.     All visual depictions (images and video files) uploaded by that user ID

and all visual depictions uploaded by any user that have that user tagged in them along

with any metadata identifying when and where the image or file was created and/ or

uploaded;

       5.     All profile information; News Feed information; status updates; links to

videos, photographs, articles, and other items; Notes; Wall postings; friend lists,

including the friends' Instagram user identification numbers; groups and networks of

which the user is a member, including the groups' Instagram group identification

numbers; future and past event postings; rejected "Friend" requests; comments; gifts;

pokes; tags; and information about the user's access and use of Instagram applications;
                                            '
       6.     All other records of communications and messages made or received by

the user, including all private messages, chat history, video calling history, and pending

"Friend" requests;

       7.     Evidence indicating how and when the Instagram account was accessed

or used, to determine the chronological and geographic context of account access, use,

and events relating to the crime under investigation and to the Instagram account

owner;

       8.     Evidence indicating the Instagram account owner's state of mind as it

relates to the crime under investigation;

         9.   All location data associated with the account, including geotags;

       10.    All "check ins" and other location information;
        Case: 3:24-cr-00050-jdp     Document #: 52-1      Filed: 11/08/24   ANDEREGG-BATES-000132
                                                                             Page 6 of 36



          11.    All IP logs, including all records of the IP addresses that logged into the

account;

           12.   All records of the account's usage of the "Like" feature, including all

Instagram posts and all non-Instagram webpages and content that the user has "liked";

           13.   All information about the Instagram pages that the account is or was a

11
     fan" of;

           14.   All past and present lists of friends created by the account;

           15.   All records of Instagram searches performed by the account;

           16.   All information about the user's access and use of Instagram Marketplace;

           17.   The types of service utilized by the user;

           18.   The length of service (including start date) and the means and source of

any payments associated with the service (including any credit card or bank account

number);

           19.   All privacy settings and other account settings, including privacy settings

for individual Instagram posts and activities, and all records showing which Instagram

users have been blocked by the account;

           20.   All records pertaining to communications between Instagram and any

person regarding the user or the user's Instagram account, including contacts with

support services and records of actions taken;

           21.   Records relating to who created, used, or communicated with the user ID,

including records about their identities and whereabouts;
    Case: 3:24-cr-00050-jdp     Document #: 52-1    Filed: 11/08/24   ANDEREGG-BATES-000133
                                                                       Page 7 of 36



      22.    All user content created, uploaded or shared by the account, including

any comments made by the account on photographs or other content;

      23.    All photographs and images in the user gallery of the account;

      24.    All data and information that has been deleted by the user;

      25.    All information about connections between the account and third-party

websites and applications.



Meta is hereby ordered to disclose the above information to the government within 14

days of issuance of this warrant.
               Case: 3:24-cr-00050-jdp                  Document #: 52-1          Filed: 11/08/24       ANDEREGG-BATES-000134
                                                                                                         Page 8 of 36
AO 106 (Rev. 04/10) \Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Western District of Wisconsin
                 In the Matter of the Search of                          )
                                                                         )
    Information associated with Instagram accounts                       )              Case No. 24-mj-5
  dhyanax4dxm (lnstagram UJD: 60857847038) and                           )
  _dhyana_gg (Instagram UID: 55017690550) that is                        )                            SEALED
 stored at premises controlled by Meta Platforms, Inc,                   )

                                             APPLICATION FOR A SEARCH WARRANT

        I, AUSA Elizabeth Altman, an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A.

located in the Nmthern District of California in Menlo Park, California, there is now concealed:

See Attachment B.

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):

          IZI evidence of a crime;
          1Z1 contraband, fruits of crime, or other items illegally possessed;
          D property designed for use, intended for use, or used in committing a crime;
          □ a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:

Code Section                                     Offense Description
18 U.S.C. § 1466A                                Production, distribution, or possession of explicit material
18 U.S.C. § 1462(a)                              Importation ortranspmtation of obscene matter
18 U.S.C. § 1470                                 Transferring or attempting to transfer obscene material to a minor
18 U.S.C. § 2252A                                Distribution or possession of child pornography
           The application is based on these facts: See attached Affidavit.



                                                                                             Applicant's signature
                                                                                          AUSA Elizabeth Altman
                                                                                             Printed name and title

 Sworn to me Telephonically


 Date:          /- 1_ 9- 2.-'f

                                                                                   Magistrate Judge Stephen L. Crocker
         Madison, Wisconsin                                                        Magistrate Judge Andrew R. Wiseman
    Case: 3:24-cr-00050-jdp     Document #: 52-1      Filed: 11/08/24   ANDEREGG-BATES-000135
                                                                         Page 9 of 36


                         AFFIDAVIT IN SUPPORT OF
                  AN APPLICATION FOR A SEARCH WARRANT

      I, Ryan Condon, being first duly sworn, hereby depose and state as follows:

                 INTRODUCTION AND AGENT BACKGROUND

      1.     I make this affidavit in support of an application for a search warrant for

information associated with certain Instagram accounts that is stored at premises

owned, maintained, controlled, or operated by Meta Platforms, Inc. (Meta), an

electronic communications service and/ or remote computing service provider

headquartered in Menlo Park, California. The information to be searched is described

in the following paragraphs and in Attachment A. This affidavit is made in support of

an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and

2703(c)(1)(A) to require Meta to disclose to the government copies of the records and

other information in its possession, pertaining to the subscriber or customer associated

with the ID identified in Attachment A.

       2.     I am a Special Agent with the Wisconsin Department of Justice and have

been since September of 2016. I have received more than 500 hours of training in the

investigation of computer-facilitated exploitation of children, and methods of forensic

analysis of computers used in criminal activity. This training was provided by the

Wisconsin Division of Criminal Investigation (DCI) and the United States Department

of Justice Internet Crimes Against Children (ICAC) Training and Technical Assistance

Program. I have written more than 100 search warrant and subpoena applications over

my law enforcement career.
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       3.      This affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all my knowledge about this

matter.

       4.      Based on my training and experience and the facts as set forth in this

affidavit, I submit there is probable cause to believe that violations of 18 U.S.C. §§

1462(a), 1466A, 1470, and 2252A have been committed by the user or users of the

Instagram account dhyanax4dxm ( SUBJECT ACCOUNT 1) and Instagram account

_dhyana_gg (SUBJECT ACCOUNT 2) and that evidence related to these offenses is

currently stored in the SUBJECT ACCOUNTS. I further submit there is probable cause

to search the information described in Attachment A for evidence, instrumentalities,

contraband, and/ or fruits of these crimes further described in Attachment B.

                                      JURISDICTION

          5.   This Court has jurisdiction to issue the requested warrant because it is" a

court of competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),

(b)(1)(A), & (c)(1)(A). Specifically, the Court is "a district court of the United States ...

that has jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).

                               STATUTORY AUTHORITY

          6.   This investigation concerns alleged violations of 18 U.S.C. §§ 1462(a),

1466A, 1470, and 2252A.

               a.     18 U.S.C. § 1462(a) prohibits a person from using any interactive

computer service (as defined in section 230(e)(2) of the Communications Act of 1934),

for carriage in interstate or foreign commerce any obscene, lewd, lascivious, or filthy



                                               2
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book, pamphlet, picture, motion-picture film, paper, letter, writing, print, or other

matter of indecent character;

              b.     18 U.S.C. § 1466A(a) and (b) prohibit a person from knowingly

producing, distributing, receiving, possessing with intent to distribute, or possessing a

visual depiction of any kind, including a drawing, cartoon, sculpture, or painting, that

depicts a minor engaged in sexually explicit conduct and is obscene or that depicts an

image that is, or appears to be, of a minor engaging in graphic bestiality, sadistic or

masochistic abuse, or sexual intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or opposite sex and lacks

serious literary, artistic, political, or scientific value, or attempting or conspiring to do

so, where: any communication involved in or made in furtherance of the offense is

communicated or transported by the mail, or in interstate or foreign commerce by any

means, including by computer, or any means or instrumentality of interstate or foreign

commerce is otherwise used in committing or in furtherance of the commission of the

offense; any communication involved in or made in furtherance of the offense

contemplates the transmission or transportation of a visual depiction by the mail, or in

interstate or foreign commerce by any means, including by computer; any person

travels or is transported in interstate or foreign commerce in the course of the

commission or in furtherance of the commission of the offense; any visual depiction

involved in the offense has been mailed, or has been shipped or transported in

interstate or foreign commerce by any means, including by computer, or was produced

using materials that have been mailed, or that have been shipped or transported in

interstate or foreign commerce by any means, including by computer; or the offense is
                                                3
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committed in the special maritime and territorial jurisdiction of the United States or in

any territory or possession of the United States;

              c.     18 U.S.C. § 1470 prohibits a person from using the mail or any

facility or means of interstate or foreign commerce to knowingly transfer obscene

matter to another individual who has not attained the age of 16 years, knowing that

such other individual has not attained the age of 16 years, or attempting to do so;

              d.     18 U.S.C. § 2252A(a)(2) and (b)(l) prohibit a person from

knowingly receiving or distributing any child pornography using any means or facility

of interstate or foreign commerce or that has been mailed, or has been shipped or

transported in or affecting interstate or foreign commerce by any means, including by

computer; or any material that contains child pornography using any means or facility

of interstate or foreign commerce or that has been mailed, or has been shipped or

transported in or affecting interstate or foreign commerce by any means, including by

computer, or attempting or conspiring to do so;

              e.     18 U.S.C. § 2252A(a)(5)(B) and (b)(2) prohibit a person from

knowingly possessing, or knowingly accessing with intent to view, any book, magazine,

periodical, film, videotape, computer disk, or any other material that contains an image

of child pornography that has been mailed, or shipped or transported using any means

or facility of interstate or foreign commerce or in or affecting interstate or foreign

commerce by any means, including by computer, or that was produced using materials

that have been mailed, or shipped or transported in or affecting interstate or foreign

commerce by any means, including by computer, or attempting or conspiring to do so;



                                              4
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              f.     18 U.S.C. § 2256(2)(A) defines "sexually explicit conduct" to mean

actual or simulated: sexual intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or opposite sex; bestiality;

masturbation; sadistic or masochistic abuse; or lascivious exhibit of the anus genitals, or

pubic area of any person;

              g.     18 U.S.C. § 2256(5) defines "visual depiction" to include

undeveloped film and videotape, data stored on computer disk or by electronic means

which is capable of conversion into a visual image, and data which is capable of

conversion into a visual image that has been transmitted by any means, whether or not

stored in a permanent format; and

              h.     18 U.S.C. § 2256(8) defines "child pornography" to mean any visual

 depiction, including any photograph, film, video, picture, or computer or computer-

 generated image or picture, whether made or produced by electronic, mechanical, or

 other means, of sexually explicit conduct, where the production of such visual

 depiction involves the use of a minor engaging in sexually explicit conduct; such visual

 depiction is a digital image, computer image, or computer-generated image that is, or

 is indistinguishable from, that of a minor engaging in sexually explicit conduct; or such

 visual depiction has been created, adapted, or modified to appear that an identifiable

 minor is engaging in sexually explicit conduct.

               BACKGROUND ON THE NATIONAL CENTER FOR
             MISSING AND EXPLOITED CHILDREN'S CYBERTIPLINE

       7.     Based on my training and experience, and publicly available information,

I know that the National Center for Missing and Exploited Children (NCMEC) is a


                                              5
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nonprofit, nongovernmental organization in Alexandria, Virginia, that works with law

enforcement on issues related to missing and sexually exploited children. One of the

services provided and administered by NCMEC is its CyberTipline, which serves as the

national clearinghouse for leads regarding sexual exploitation crimes against children.

       8.    In addition to reports from the general public, reports are made by U.S.

electronic service providers, which are required by U.S. federal law to report "apparent

child pornography" to NCMEC via the CyberTipline (18 U.S.C. § 2258A) if they become

aware of the content on their servers. Leads are reviewed by specially trained analysts,

who examine and evaluate the reported content, add related information that may be

useful to law enforcement, use publicly available search tools to determine the

geographic location of the apparent criminal act, and ultimately provide all of the

gathered information to the appropriate law enforcement agency for review and

possible investigation.

       9.     The CyberTipline receives reports, known as CyberTipline reports, on the

following type of criminal conduct: possessing, manufacturing, and distributing child

pornography; online enticement of children for sexual acts; child prostitution; sex

tourism involving children; child sexual molestation; unsolicited obscene material sent

to a child; misleading domain names; and misleading words or digital images on the

Internet.

       10.    The CyberTipline reports will vary in detail depending on the nature of

the report, and which entity submits it. The reports can include information (1) relating

to the identity of any individual who appears to have violated federal law by

committing or attempting to commit the criminal conduct described above; (2) historical
                                            6
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                                                                                 ANDEREGG-BATES-000141



information on when or how a customer or subscriber of an electronic service provider

uploaded, transmitted, or received apparent child pornography; (3) geographical

information on the involved individual or website, which may include the Internet

Protocol (IP) Address or verified billing address or geographic identifying information,

including area code or zip code; (4) any images of apparent child pornography; and (5)

the complete communication containing any image of apparent child pornography. See

18 U.S.C. § 2258A(b).

                                       PROBABLE CAUSE

        11.     On Wednesday, November 8, 2023, I reviewed two CyberTipline reports

received by NCMEC related to SUBJECT ACCOUNT 1. The two reports were filed by

Meta Platforms, which owns Instagram and Facebook, on October 12, 2023

(CyberTipline Report 176167714) and October 18, 2023, CST (CyberTipline Report

176484452). Meta Platforms reported that on or about October 8, 2023, SUBJECT

ACCOUNT 1 distributed what appears to be Artificial Intelligence (AI) images

depicting child sexual abuse material (CSAM) through an Instagram direct message to

an account belonging to a juvenile. 1

        12.    According to the information provided by Meta in CyberTipline report

176484452, the account details for SUBJECT ACCOUNT 1 are as follows:

       Instagram Full Name: Dom
       Instagram Username: dhyanax4dxm


1 Artificial intelligence (AI) is the ability of a digital computer or computer-conh·olled robot to

perform tasks commonly associated with intelligent beings. The term is frequently applied to
the project of developing systems endowed with the intellectual processes characteristic of
humans, such as the ability to reason, discover meaning, generalize, or leain from past
experience.

                                                  7
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                                                                               Page 16 of 36


         Instagram UID: 60857847038
         DOB: June 19 2000
         Age: 23
         Gender: Male
         Associated E-Mail Address: None
         Associated Phone Number: None

         13.    Meta also reported that SUBJECT ACCOUNT 1 had already posted

numerous apparent AI images of minimally clothed minor boys or minor boys in

bondage attire in August and September 2023, and that the user of SUBJECT

ACCOUNT 1 follows another Instagram user whose biography states " ..... great to meet

on telegram and talk about young boy addiction!!"

         14.    According to information provided by Meta, the recipient of the

apparently AI-generated CSAM was a 16-year-old boy (Minor A). 2

         15.    Meta also provided an excerpt of the Ins tagram conversation in which

SUBJECT ACCOUNT 1 distributed the apparent AI images to the juvenile. The details

of the chat are as follows:

    Username          Date/fime                            Message
    Minor A           09/26/23 2:46 p.m. PDT               Hey
    dhyanax4dxm(IGID 09/26/23 5:59 p.m. PDT                Hey
    60857847038)
    Minor A           09/27/23 4:38 p.m. PDT               Howarevou?
    dhyanax4dxm(IGID 09 /27 /23 7:51 p.m. PDT              Ok I guess?
    60857847038)
    Minor A           09/28/2023 4:25 a.m. PDT             How old are vou?
    Dhyanax4dxm (IGID 09/28/2023 9:05a.m. PDT              Slightly old, why?
    60857847038)
    Dhyanax4dxm(IGID 09/28/2023 9:05 a.m. PDT              Who are you?
    60857847038)
    Minor A           09/28/20231:14 p.m. PDT              I was just wondering, my name
                                                           is [Minor A]



2   As noted below, law enforcement determined he was actually 15 years old.

                                                8
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dhyanax4dxm (IGID           09/28/20231:14 p.m. PDT          Hi [Minor A]
60857847038)
Minor A                     09/28/20231:15 p.m. PDT          HevDom
dhyanax4dxm (IGID           09/28/20231:15 p.m. PDT          So what's up?
60857847038)
Minor A                     09/28/20231:16 p.m. PDT Nothing much, I was just
                                                    wondering like who you were
                                                    and how you got those kinds of
                                                    pictures
dhyanax4dxm(IGID            09/28/20231:17 p.m. PDT Im no one in particular all the
60857847038)                                        images I post are mv creations
Minor A                     09/28/20231:17 p.m. PDT Like  you make them? Or are
                                                    they AI generated
dhyanax4dxm (IGID           09/28/20231:20 p.m. PDT Yes, they are made with stable
60857847038)                                        diffusion. 3 I create them in so far
                                                    as I craft the prompts and
                                                    control parameters of the ai nets
Minor A                     09/28/20231:21 p.m. PDT Ohhokav
dhyanax4dxm (IGID           09/28/20231:23 p.m. PDT Don't hesitate to ask anything
60857847038)                                        else, I'm kinda bored at the
                                                    moment been a long dav so far
Minor A                     09/28/20231:26 p.m. PDT That's fair, I just got home from
                                                    school about half an hour ago
 dhyanax4dxm (IGID          09/28/20231:44 p.m. PDT So, what you up to now?
 60857847038)
 Minor A                    09/28/2023 2:15 p.m. PDT         Just kinda hanging out
 Minor A                    10/04/2023 7:46 p.m. PDT         How often do vou post?
 Dhyanax4dxm (IGID          10/04/2023 8:1 p.m. PDT          Varies a lot, haven't posted a
 60857847038)                                                while since telegram for banned
                                                             and several of my posts were
                                                             flaP"P"ed
 Minor A                    10/04/2023 8:31 p.m. PDT         Ohhokav




3 Based on my training, experience, and discussion with other law enforcement agents and

personnel involved with similar investigations, I am aware that Stable Diffusion refers to an AI
product or model that allows users to generate detailed images based on user-inputted textual
descriptions or prompts. User prompts can include multiple sentences and can provide
detailed instructions on the subject, content, setting, level of realism, and references that a user
wishes to see in a generated image. Users can also utilize Stable Diffusion to alter an existing
image based on similar user-inputted textual descriptions or prompts. The code for Stable
Diffusion is open sourced, which generally means that users can use and modify the product
without any resh·ictions.
                                                  9
        Case: 3:24-cr-00050-jdp   Document #: 52-1    Filed: 11/08/24     ANDEREGG-BATES-000144
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 Minor A                   10/04/2023 8:31 p.m. PDT    Stable Diffusion can make up a
                                                       lot of those kinds of pictures and
                                                       stuff too
 Minor A                   10/04/2023 8:32 p.m. PDT    It's on pc
 dhyanax4dxm(IGID          10/04/2023 8:40 p.m. PDT    I know, that's what I use to
 60857847038)                                          generate these images
 Minor A                   10/04/2023 8:41 p.m. PDT    Ohh that makes sense
 dhyanax4dxm(IGID          10/04/2023 8:44 p.m. PDT    So how old are you? Forgot to
 60857847038)                                          ask after you asked me
 dhyanax4dxm (IGID         10/04/2023 8:54 p.m. PDT    Let me know if you have any
 60857847038)                                          special requests. Im bored and
                                                       looking for inspiration so you
                                                       might get a custom set
 Minor A           10/05/2023 4:47 a.m. PDT            I'm 15
 Minor A           10/05/2023 4:48 a.m. PDT            Boys in the woods?
 Dhyanax4dxm (IGID 10/05/2023 6:23 a.m. PDT            What are the boys in the woods
 60857847038)                                          doing?
 Minor A           10/05/2023 6:25 a.m. PDT            Idk talking, hanging out, playing
 dhyanax4dxm (IGID 10/05/2023 6:53 a.m. PDT            What age boys?
 60857847038)
 Minor A           10/05/202311:46 a.m. PDT            Pre teen so 12ish
 Minor A           10/05/2023 7:02 p.m. PDT            What are they wearing?
 Dhyanax4dxm (IGID 10/05/2023 8:16 p.m. PDT            ♦
 60857847038)
 dhyanax4dxm (IGID 10/05/2023 8:16 p.m. PDT            ♦
 60857847038)
 Minor A           10/06/2023 4:25 a.m. PDT            Okay
 dhyanax4dxm(IGID 10/06/202311:20 a.m.                 Sorry bro, life got busy for me,
 60857847038)      PDT                                 got a couple cooking up for you
                                                       now
 Minor A                   10/06/202311:45 a.m.        You're good
                           PDT

[...]

 dhyanax4dxm(IGID 10/06/202312:35 p.m.                 Funny if you view in order you
 60857847038)     PDT                                  see me playing with different
                                                       models, prompts, settings
 Minor A          10/06/202312:43 p.m.                 Cool!
                  PDT
 Minor A          10/06/202312:44 p.m.                 Yeah that's dope
                  PDT
 dhyanax4dxm(IGID 10/07/2023 7:36 p.m. PDT             Few more for ya
 60857847038)
   Case: 3:24-cr-00050-jdp        Document #: 52-1       Filed: 11/08/24     ANDEREGG-BATES-000145
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dhyanax4dxm (IGID         10/07/2023 7:36 p.m. PDT        This content showing apparant
60857847038)                                              CSAM has been reported to
                                                          NCMEC and received the
                                                          followine: cvbertio: 176167714
Minor A                   10/07/2023 8:28 p.m. PDT        Predate it
Minor A                   10/09/2023 9:45 a.m. PDT        The 3 to last one is mv favorite

      16.     As shown in the excerpt above, at approximately 7:36 p.m. PDT on

October 7, 2023, SUBJECT ACCOUNT 1 distributed content flagged by NCMEC as

"apparent CSAM," which was reported to NCMEC by Meta Platforms and documented

in CyberTipline report 176167714. I have reviewed that report as well. It contains,

among other things, two images that SUBJECT ACCOUNT 1 sent in the above

Instagram direct-message conversation. According to CyberTipline report 176167714,

the images were viewed by Instagram prior to their submission to NCMEC, and they

depict the following:

       7FAN2cLkeMP2xxPn387320722_806770904522930_6064114663473091139_o.jpg
       This image depicted what appeared to be a prepubescent juvenile male kneeling on a blue
       blanket in a wooded area. The male was partially clothed, only wearing a baseball cap and
       white underwear. The male had his erect penis exposed through the opening in his
       underwear. In the background of the image were other clothed, pre or young pubescent
       children. The male was posed in a manner that made his erect penis the focal point of the
       image. This image appears to be computer-generated content.

       mCzQ7MseP4li6GPt384857462_616757293728570_2765743605773120 647_o.jpg
       This image depicted what appeared to be a different prepubescent juvenile male kneeling
       on a blue blanket in a wooded area leaning back on his hands with his legs spread far
       apart exposing his erect penis. The male had a blue cloth draped across his stomach, but
       other than that, was completely nude. There was a partially clothed juvenile female with
       brown hair kneeling to the left of the male looking over his shoulder at him. The male in
       this image was posed in a manner that made his penis the focal point of the image. This
       image appears to be computer-generated content.

       17.    According to Instagram, those two images were uploaded on October 7,

2023, at 9:36 p.m. CST and 9:35 p.m. CST, respectively, by SUBJECT ACCOUNT 1,

utilizing IP address 147.219.156.74. Instagram also advised that there was a login to

                                               11
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SUBJECT ACCOUNT 1 utilizing that same IP address on October 1, 2023, at 9:08 p.m.

CST.

       18.   Law enforcement determined that this IP address resolved to Charter

Communications. On October 20, 2023, as part of this investigation, WI DOJ-DCI

Program Policy Analyst (PPA) Jessica Cattaneo requested an Administrative Subpoena

be issued to Charter Communications regarding records related to the following IP

address:

       147.219.156.74 on 10/02/2023 at 9:08 p.m. CST

       147.219.156.74 on 10/08/2023 at 9:36 p.m. CST

       147.219.156.74 on 10/08/2023 at 9:36 p.m. CST

       19.   On October 30, 2023, Charter provided the requested records, which

indicated that at those dates and times, IP address 147.219.156.74 was assigned to a

Charter customer with the following subscriber information:

       STEVE ANDEREGG
       N6960 BICE AVE
       HOLMEN, WI 546367202
       STEVEA137@CHARTER.NET
       STEVEA137@GMAIL.COM
       (608) 769-1451

       20.    Additionally, according to the information provided by Meta in the

CyberTipline reports, the following Facebook/Instagram accounts are linked by device

and/ or IP address to SUBJECT ACCOUNT 1:

       SUSPECT Facebook account:
       Name: Steve Anderegg
       Mobile Phone: +16087691451 (Verified)
       Date of Birth: 07-05-1981
       Approximate Age: 42
       Email Address: bewolf.geo@yahoo.com (Verified)
                                            12
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      Email Address: stevea137@gmail.com (Verified)
      Screen/User Name: steve.anderegg
      ESP User ID: 529690284
      Profile URL: https://www.facebook.com/steve.anderegg

      SUSPECT Instagram account:
      Instagram Full Name: Dom
      Instagram Username: _dhyana_gg
      Instagram UID: 55017690550
      DOB: July 6 2009
      Age: 14
      Gender: Unknown
      Associated E-Mail Address: None
      Associated Phone Number: +16087691451

      21.    The _dhyana_gg Instagram account (SUBJECT ACCOUNT 2) was

referenced in another CyberTipline report numbered 138694255 based on information

Instagram reported to NCMEC on November 12, 2022. According to this report,

SUBJECT ACCOUNT 2 received an image from another Instagram account via direct

message on or about November 9, 2022, that Instagram flagged as depicting potential

child pornography. According to the report, Instagram did not review this image

before submitting the information to NCMEC.

      22.    Through open source searching, PP A Cattaneo was able to identify and

locate Minor A. On November 22, 2023, the Georgia Bureau of Investigation (GBI) was

able to confirm Minor A's identify. GBI SA Trisha Cannon interviewed Minor A on

December 18, 2023. Minor A disclosed his date of birth was in 2008 and confirmed his

Instagram username was the one in the conversation with SUBJECT ACCOUNT 1.

Minor A reported talking through Instagram with an account that had the vanity name

"KING AIDEN," who was posting "immoral and illegal" child pornography on KING

AIDEN's public Instagram profile. Minor A stated that he discovered KING AIDEN's


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profile while searching for motorcycle pages in the Instagram search feature. Minor A

thought he remembered the KING AIDEN profile as being the same as SUBJECT

ACCOUNT 1. KING AIDEN told Minor A that KING AIDEN used the Prodia AI

generator 4 to create AI images. Minor A stated he requested images of "boys in the

woods." Minor A stated that KING AIDEN requested images of Minor A, who then

sent a completely nude image of himself to KING AIDEN via Instagram's "vanish

mode" function.

       23.    In a subsequent phone call, Minor A told SA Cannon that he believed

KING AIDEN and DOM were two separate people. However, based on my training

and experience, and the fact that ANDEREGG has used multiple Instagram profiles, I

believe they are likely the same person. Moreover, even if they are not the same person,

information provided by Instagram shows that someone using ANDEREGG's account

sent the apparently AI-generated images described above to Minor A, in violation of

federal statute.

       24.    SA Cannon obtained consent from the juvenile to search his electronic

items, and located multiple AI generated CSAM images in the deleted folder.

       25.     I am familiar with Steven Anderegg from a previous investigation in 2019.

While reviewing law enforcement observations on the peer-to-peer file sharing network

Freenet, I observed activity from an IP address requesting known files of child sexual

abuse material. The internet subscriber for the suspect IP address resolved to Steven




• According to publicly available information, the Prodia AI generator is a free AI image
generator that utilizes Stable Diffusion.

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Anderegg at the address N6960 Bice Avenue, Holmen, WI. The IP address was

observed requesting more than 40 files of known CSAM. The files ranged from

prepubescent to young pubescent children engaged in sex acts.

       26.    On April 28, 2020, agents with WI DOJ-DCI served a search warrant at

Steven Anderegg' s residence and collected numerous electronic items. During my

interview with Anderegg, he admitted to using multiple peer-to-peer platforms to

include Freenet. When asked about seeing CSAM online, Anderegg said "nothing really

pops into my mind, but obviously there's lots that you can't really tell if they're 16, 19,

or 20." Anderegg stated he didn't knowingly download any CSAM that law

enforcement observed being requested over the Freenet network and said he was

surprised they all came from one IP address, since he often reset, or unplugged and re-

plugged his modem. Anderegg also admitted he would typically uninstall Freenet after

every use and re-install it when he wanted to use it again but did not admit at any point

to intentionally searching for or downloading CSAM.

       27.    A full forensic exam was completed on Anderegg's devices seized during

the search warrant. The examination uncovered two forensic artifacts labeled as

"file:///Z:/11yo%20jacks%20off%20cums%20with%20sound.wmv" and

"file:// /Z:/NEW2009_9yboycum.wmv," both of which contain terms that I know are

indicative of CSAM.

       28.    Files associated with Frostwire (an additional program Freenet users

utilize to request files) were also found during the forensic examination, including files

titled "Beryle Shirtless Boy Model (Preteen) (Model Promotions)," "David, Noah &

Friends (Boy Candids - UPDATED)," and "Dennis at camp (boy candids)."
                                             15
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                   BACKGROUND CONCERNING INSTAGRAM 5

       29.    Instagram and Facebook are services owned by Meta, a United States

company and a provider of an electronic communications service as defined by 18

U.S.C. §§ 3127(1) and 2510. Specifically, Instagram and Facebook are free-access social

networking services, accessible through their website and their mobile applications, that

allows subscribers to acquire and use Instagram and Facebook accounts, like the target

account(s) listed in Attachment A, through which users can share messages,

multimedia, and other information with other Instagram and Facebook users and the

general public.

       30.    Meta collects basic contact and personal identifying information from

users during the Instagram and Facebook registration process. This information, which

can later be changed by the user, may include the user's full name, birth date, gender,

contact e-mail addresses, physical address (including city, state, and zip code),

telephone numbers, credit card or bank account number, and other personal identifiers.

Meta keeps records of changes made to this information.

       31.    Meta also collects and retains information about how each user accesses

and uses Instagram and Facebook. This includes information about the IP addresses

used to create and use an account, unique identifiers and other information about

devices and web browsers used to access an account, and session times and durations.



5 The information in this section is based on information published by Meta on its Instagram

website, including, but not limited to, the following webpages: "Privacy Policy,"
https:/ / privacycenter.instagram.com/ policy/; "Information for Law Enforcement,"
https:/ /help.instagram.com/ 494561080557017; and "Help Center,"
https:/ /help.instagram.com.
                                                 16
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       32.   Each Instagram and Facebook account is identified by a unique username

chosen by the user. Users can change their usernames whenever they choose but no

two users can have the same usernames at the same time. Instagram and Facebook

users can create multiple accounts and, if" added" to the primary account, can switch

between the associated accounts on a device without having to repeatedly log-in and

log-out.

       33.   Instagram and Facebook users can also connect their Instagram and

Facebook accounts to utilize certain cross-platform features, and multiple Instagram

accounts can be connected to a single Facebook account. Instagram and Facebook

accounts can also be connected to certain third-party websites and mobile apps for

similar functionality. For example, an Instagram user can "tweet" an image uploaded

to Instagram to a connected Twitter account or post it to a connected Facebook account,

or transfer an image from Instagram to a connected image printing service. Meta

maintains records of changed Instagram and Facebook usernames, associated Instagram

and Facebook accounts, and previous and current connections with accounts on Meta

and third-party websites and mobile apps.

       34.    Instagram and Facebook users can "follow" other users to receive updates

about their posts and to gain access that might otherwise be restricted by privacy

settings (for example, users can choose whether their posts are visible to anyone or only

to their followers). Users can also "block" other users from viewing their posts and

searching for their account, "mute" users to avoid seeing their posts, and "restrict"

users to hide certain activity and prescreen their comments. Instagram and Facebook



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also allow users to create a "close friends list" for targeting certain communications and

activities to a subset of followers.

       35.     Users have several ways to search for friends and associates to follow on

Instagram, such as by allowing Meta to access the contact lists on their devices to

identify which contacts are Instagram users. Meta retains this contact data unless

deleted by the user and periodically syncs with the user's devices to capture changes

and additions. Users can similarly allow Meta to search an associated Facebook account

for friends who are also Instagram users. Users can also manually search for friends or

associates.

       36.     Each Instagram and Facebook user has a profile page where certain

content they create and share (posts) can be viewed either by the general public or only

the user's followers, depending on privacy settings. Users can customize their profile

by adding their name, a photo, a short biography (Bio), and a website address.

       37.     One of Instagram's and Facebook's primary features is the ability to

create, edit, share, and interact with photos and short videos. Users can upload photos

or videos taken with or stored on their devices, to which they can apply filters and other

visual effects, add a caption, enter the usernames of other users (tag), or add a location.

These appear as posts on the user's profile. Users can remove posts from their profiles

by deleting or archiving them. Archived posts can be reposted because, unlike deleted

posts, they remain on Meta's servers.

       38.     Users can interact with posts by liking them, adding or replying to

comments, or sharing them within or outside of Instagram and Facebook. Users receive

notification when they are tagged in a post by its creator or mentioned in a comment
                                             18
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(users can "mention" others by adding their username to a comment followed by"@").

An Instagram and Facebook post created by one user may appear on the profiles or

feeds of other users depending on a number of factors, including privacy settings and

which users were tagged or mentioned.

       39.    An Instagram "story" is similar to a post but can be viewed by other users

for only 24 hours. Stories are automatically saved to the creator's "Stories Archive" and

remain on Meta's servers unless manually deleted. The usernames of those who

viewed a story are visible to the story's creator until 48 hours after the story was posted.

       40.    Instagram and Facebook allow users to broadcast live video from their

profiles. Viewers can like and add comments to the video while it is live, but the video

and any user interactions are removed from Instagram upon completion unless the

creator chooses to send the video to IGTV, Instagram's long-form video app.

       41.    Instagram Direct, Instagram' s messaging service, and Facebook

Messenger allows users to send private messages to select individuals or groups. These

messages may include text, photos, videos, posts, videos, profiles, and other

information. Participants to a group conversation can name the group and send

invitations to others to join. Instagram and Facebook users can send individual or

group messages with "disappearing" photos or videos that can only be viewed by

recipients once or twice, depending on settings. Senders cannot view their

disappearing messages after they are sent but do have access to each message's status,

which indicates whether it was delivered, opened, or replayed, and if the recipient took

a screenshot. Instagram Direct and Facebook Messenger also enables users to video

chat with each other directly or in groups.
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       42.    Instagram and Facebook offer services such as Instagram Checkout and

Facebook Pay for users to make purchases, donate money, and conduct other financial

transactions within the Instagram platform as well as on Facebook and other associated

websites and apps. Instagram collects and retains payment information, billing records,

and transactional and other information when these services are utilized.

       43.    Instagram and Facebook have a search function which allows users to

search for accounts by username, user activity by location, and user activity by hashtag.

Hashtags, which are topical words or phrases preceded by a hash sign(#), can be added

to posts to make them more easily searchable and can be "followed" to generate related

updates from Instagram. Meta retains records of a user's search history and followed

hashtags.

       44.    Meta collects and retains location information relating to the use of an

Instagram or Facebook account, including user-entered location tags and location

information used by Meta to personalize and target advertisements.

       45.    Meta uses information it gathers from its platforms and other sources

about the demographics, interests, actions, and connections of its users to select and

personalize ads, offers, and other sponsored content. Meta maintains related records

for Instagram users, including information about their perceived ad topic preferences,

interactions with ads, and advertising identifiers. This data can provide insights into a

user's identity and activities, and it can also reveal potential sources of additional

evidence.

       46.    In some cases, Instagram and Facebook users may communicate directly

with Meta about issues relating to their accounts, such as technical problems, billing
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inquiries, or complaints from other users. Social networking providers like Meta

typically retain records about such communications, including records of contacts

between the user and the provider's support services, as well as records of any actions

taken by the provider or user as a result of the communications.

       47.    For each Instagram and Facebook user, Meta collects and retains the

content and other records described above, sometimes even after it is changed by the

user (including usernames, phone numbers, email addresses, full names, privacy

settings, email addresses, and profile bios and links).

       48.    In my training and experience, evidence of who was using Instagram and

from where, and evidence related to criminal activity of the kind described above, may

be found in the files and records described above. This evidence may establish the

"who, what, why, when, where, and how" of the criminal conduct under investigation,

thus enabling the United States to establish and prove each element or, alternatively, to

exclude the innocent from further suspicion. For example, the stored communications

and files connected to an Instagram account may provide direct evidence of the offenses

under investigation. Based on my training and experience and as explained above,

instant messages, voice messages, photos, videos, and documents are often created and

used in furtherance of criminal activity, including to communicate and facilitate the

offenses under investigation.

       49.    In addition, the user's account activity, logs, stored electronic

communications, and other data retained by Meta can indicate who has used or

controlled the account. This "user attribution" evidence is analogous to the search for

"indicia of occupancy" while executing a search warrant at a residence. For example,
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subscriber information, messaging logs, photos, and videos (and the data associated

with the foregoing, such as date and time) may be evidence of who used or controlled

the account at a relevant time. As an example, because every device has unique

hardware and software identifiers, and because every device that connects to the

Internet must use an IP address, IP address and device identifier information can help

to identify which computers or other devices were used to access the account. Such

information also allows investigators to understand the geographic and chronological

context of access, use, and events relating to the crime under investigation. That

information is especially important in a case like this one, where, as described above,

there is reason to believe that the user of the SUBJECT ACCOUNTS is utilizing an alias

to conceal their identity.

       50.    Account activity may also provide relevant insight into the account

owner's state of mind as it relates to the offenses under investigation. For example,

information on the account may indicate the owner's motive and intent to commit a

crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law

enforcement).

       51.    Other information connected to the use of Instagram may lead to the

discovery of additional evidence. For example, associated and linked accounts, stored

communications, photos, and videos may reveal services used in furtherance of the

crimes under investigation or services used to communicate with co-conspirators. In

addition, stored communications, contact lists, photos, and videos can lead to the

identification of co-conspirators and instrumentalities of the crimes under investigation,
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including other individuals to whom the user of the SUBJECT ACCOUNTS may be

sending CSAM-related files.

       52.       Therefore, Meta's servers are likely to contain stored electronic

communications and information concerning subscribers and their use of Instagram. In

my training and experience, such information may constitute evidence of the crimes

under investigation including information that can be used to identify the account's

user or users.

                                        CONCLUSION

       53.       Based on the forgoing, I request that the Court issue the proposed search

warrant.

       54.       Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer

is not required for the service or execution of this warrant. The government will

execute this warrant by serving the warrant on Meta. Because the warrant will be

served on Meta, who will then compile the requested records at a time convenient to it,

reasonable cause exists to permit the execution of the requested warrant at any time in

the day or night.




                                                 Ryan Condon
                                                 Special Agent
                                                 WI DOJ-DCI

Telephonically sworn                        ~
                             ore me this 2- ~ay of January 2024.



Honorable STEPHEN L. CROCKER
Honorable ANDREW R. WISEMAN
United States Magistrate Judge
                                                23
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                                 ATTACHMENT A

                               Property to Be Searched

      This warrant applies to information associated with Instagram accounts

dhyanax4dxm (Instagram UID: 60857847038) and _dhyana_gg (Instagram UID:

55017690550) that is stored at premises owned, maintained, controlled, or operated by

Meta Platforms, Inc., a company headquartered in Menlo Park, California.
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                                        ATTACHMENT Bl

                          Information to be disclosed by lnstagram

       To the extent that the information described in Attachment A is within the

possession, custody, or control of Instagram, including any messages, records, files,

logs, or information that have been deleted but are still available to Instagram, or have

been preserved pursuant to a request made under 18 U.S.C. § 2703(£), Instagram is

required to disclose the following information to the government for each user ID listed

in Attachment A:

       1.       All contact and personal identifying information, including full name,

user identification number, birth date, gender, contact e-mail addresses, Instagram

passwords, Instagram security questions and answers, physical address (including city,

state, and zip code), telephone numbers, screen names, websites, and other personal

identifiers.

        2.      All past and current usernames associated with the account;

       3.       All activity logs for the account and all other documents showing the

user's posts and other Instagram activities;




1The United States, and its forensic and law enforcement partners (the government), will seize the
information described herein only for investigative purposes and for probable discovery pursuant to
Brady v. ManJland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and Federal Rules of
Criminal Procedure 16(a)(l)(E) and 26.2. The government will examine the seized information to identify
information th_at is relevant to the matter under investigation and will thereby exercise respect for the
information owner's personal and Constitutional privacy interests. Litigants are invited to contact the
assigned AUSA to address privacy or other concerns.
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       4.     All visual depictions (images and video files) uploaded by that user ID

and all visual depictions uploaded by any user that have that user tagged in them along

with any metadata identifying when and where the image or file was created and/ or

uploaded;

       5.     All profile information; News Feed information; status updates; links to

videos, photographs, articles, and other items; Notes; Wall postings; friend lists,

including the friends' Instagram user identification numbers; groups and networks of

which the user is a member, including the groups' Instagram group identification

numbers; future and past event postings; rejected "Friend" requests; comments; gifts;

pokes; tags; and information about the user's access and use of Instagram applications;

       6.     All other records of communications and messages made or received by

the user, including all private messages, chat history, video calling history, and pending

"Friend" requests;

       7.     Evidence indicating how and when the Instagram account was accessed

or used, to determine the chronological and geographic context of account access, use,

and events relating to the crime under investigation and to the Instagram account

owner;

       8.     Evidence indicating the Instagram account owner's state of mind as it

relates to the crime under investigation;

       9.     All location data associated with the account, including geotags;

       10.    All "check ins" and other location information;
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       11.   All IP logs, including all records of the IP addresses that logged into the

account;

       12.   All records of the account's usage of the "Like" feature, including all

Instagram posts and all non-Instagram webpages and content that the user has "liked";

       13.   All information about the Instagram pages that the account is or was a

"fan" of;

       14.   All past and present lists of friends created by the account;

       15.   All records of Instagram searches performed by the account;

       16.   All information about the user's access and use of Instagram Marketplace;

       17.   The types of service utilized by the user;

       18.   The length of service (including start date) and the means and source of

any payments associated with the service (including any credit card or bank account

number);

       19.   All privacy settings and other account settings, including privacy settings

for individual Instagram posts and activities, and all records showing which Instagram

users have been blocked by the account;

       20.   All records pertaining to communications between Instagram and any

person regarding the user or the user's Instagram account, including contacts with

support services and records of actions taken;

       21.   Records relating to who created, used, or communicated with the user ID,

including records about their identities and whereabouts;
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      22.     All user content created, uploaded or shared by the account, including

any comments made by the account on photographs or other content;

      23.     All photographs and images in the user gallery of the account;

      24.     All data and information that has been deleted by the user;

      25.     All information about connections between the account and third-party

websites and applications.



Meta is hereby ordered to disclose the above information to the government within 14

days of issuance of this warrant.
